     Case 4:23-cr-06016-SAB      ECF No. 46    filed 06/07/24   PageID.182      Page 1 of 2



                                                                                FILED IN THE
 1                           UNITED STATES DISTRICT COURT                   U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON



 2                      EASTERN DISTRICT OF WASHINGTON                 Jun 07, 2024
                                                                           SEAN F. MCAVOY, CLERK

 3   UNITED STATES OF AMERICA,                    No. 4:23-CR-06016-SAB-1

 4                       Plaintiff,               ORDER GRANTING DEFENDANT’S
                                                  MOTION TO EXPEDITE AND
 5                      v.                        GRANTING IN PART AND
                                                  DENYING IN PART DEFENDANT’S
 6   CHRISTIAN ESPINDOLA,                         MOTION TO MODIFY CONDITIONS
                                                  OF RELEASE
 7                       Defendant.
                                                  ECF Nos. 44, 45
 8

 9
            Before the Court are Defendant’s Motion to Modify Conditions of Release
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     (ECF No. 44) and related Motion to Expedite (ECF No. 45). Defendant was
11
     represented on these Motions by Assistant Federal Defender Alex B. Hernandez
12
     III.
13
            Defendant requests that the Court modify Special Condition No. 9 to allow
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     him to attend religious services. ECF No. 44. The United States Attorney’s Office
15
     and the United States Probation/Pretrial Services Office have no objection to
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     Defendant’s request. Id.
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            The Court, having reviewed the Motion and finding good cause therefor,
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     HEREBY ORDERS:
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            1.    Defendant’s Motion to Expedite (ECF No. 45) is GRANTED.
20



     ORDER - 1
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 1         2.     Defendant’s Motion to Modify Conditions of Release (ECF No. 44) is

 2   GRANTED IN PART AND DENIED IN PART.1

 3         3.     Defendant shall abide by the following additional Special

 4   Condition of release at all times:

 5                10. Discretionary Leave: Defendant shall be permitted to
           attend religious services as pre-approved by the United States
 6         Probation/Pretrial Services Office. Defendant shall provide that
           Office with the date, time, and details of the activity at least three days
 7         prior to the requested date.

 8         4.     All other terms and conditions of pretrial release not inconsistent

 9   herewith shall remain in full force and effect.

10         IT IS SO ORDERED.

11         DATED June 7, 2024.

12
                                   _____________________________________
13                                       ALEXANDER C. EKSTROM
14                                  UNITED STATES MAGISTRATE JUDGE

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     1 Due to the policies of United States Probation/Pretrial Services location monitoring, the

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     proper remedy is to add a condition that allows Defendant to attend religious services,
20   as opposed to modifying the existing home detention condition as Defendant requested.




     ORDER - 2
